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                                                       1   Bart K. Larsen, Esq.
                                                           Nevada Bar No. 8538
                                                       2   Kyle M. Wyant, Esq.
                                                           Nevada Bar No. 14652
                                                       3   SHEA LARSEN
                                                           1731 Village Center Circle, Suite 150
                                                       4   Las Vegas, Nevada 89134
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                                                       7   Attorneys for HASelect-Medical Receivables
                                                           Litigation Finance Fund International SP
                                                       8

                                                       9
                                                                                    UNITED STATES BANKRUPTCY COURT
                                                      10
                                                                                              DISTRICT OF NEVADA
                                                      11
                                                           In re:
              1731 Village Center Circle, Suite 150




                                                      12                                                            Case No. 21-14486-abl
                                                           INFINITY CAPITAL MANAGEMENT, INC.                        Chapter 7
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13
                        (702) 471-7432




                                                                                 Debtor.
                                                      14
                                                           HASELECT-MEDICAL RECEIVABLES                             Adversary Proceeding No.: 21-01167-abl
                                                      15   LITIGATION FINANCE FUND
                                                           INTERNATIONAL SP,
                                                      16
                                                                                 Plaintiff,
                                                      17                                                            Hearing Date: July 8, 2022
                                                           v.                                                       Hearing Time: 1:30 p.m.
                                                      18
                                                           TECUMSEH-INFINITY MEDICAL
                                                      19   RECEIVABLES FUND, LP,
                                                      20                         Defendant.
                                                      21   TECUMSEH–INFINITY MEDICAL
                                                           RECEIVABLES FUND, LP,
                                                      22

                                                      23                       Counter-Plaintiff,

                                                      24   v.

                                                      25   HASELECT-MEDICAL RECEIVABLES
                                                           LITIGATION FINANCE FUND
                                                      26   INTERNATIONAL SP; et al.,
                                                      27
                                                                                Counter-Defendants.
                                                      28


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                                                       1        NOTICE OF ENTRY OF ORDER GRANTING IN PART AND DENYING IN PART
                                                               PLAINTIFF HASELECT-MEDICAL RECEIVABLES LITIGATION FINANCE FUND
                                                       2          INTERNATIONAL, SP’S MOTION FOR PARTIAL SUMMARY JUDGMENT

                                                       3          PLEASE TAKE NOTICE that, on July 25, 2022, the above-referenced Court entered an

                                                       4   Order granting in part and denying in part HASelect-Medical Receivables Litigation Finance Fund

                                                       5   International, SP’s Motion for Partial Summary Judgment [ECF N. 53] (the “Motion”). A copy of

                                                       6   said Order granting the Motion is attached hereto as Exhibit 1.

                                                       7          Dated this 25th day of July 2022.

                                                       8                                                SHEA LARSEN

                                                       9                                                /s/ Bart K. Larsen, Esq.
                                                                                                        Bart K. Larsen, Esq.
                                                      10                                                Nevada Bar No. 8538
                                                                                                        Kyle M. Wyant, Esq.
                                                      11                                                Nevada Bar No. 14652
                                                                                                        1731 Village Center Circle, Suite 150
              1731 Village Center Circle, Suite 150




                                                      12                                                Las Vegas, Nevada 89134
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13                                                Attorneys for HASelect-Medical Receivables
                        (702) 471-7432




                                                                                                        Litigation Finance Fund International SP
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                                                       1                               CERTIFICATE OF SERVICE

                                                       2       1.    On July 25, 2022, I served the following document(s): NOTICE OF ENTRY OF
                                                                     ORDER GRANTING IN PART AND DENYING IN PART PLAINTIFF
                                                       3             HASELECT-MEDICAL RECEIVABLES LITIGATION FINANCE FUND
                                                                     INTERNATIONAL, SP’S MOTION FOR PARTIAL SUMMARY
                                                       4             JUDGMENT

                                                       5       2.    I served the above document(s) by the following means to the persons as listed
                                                                     below:
                                                       6
                                                                            a.      ECF System:
                                                       7
                                                                     CLARISSE L. CRISOSTOMO on behalf of ROBERT E. ATKINSON
                                                       8             clarisse@nv-lawfirm.com, bknotices@nv-lawfirm.com

                                                       9             GERALD M GORDON on behalf of TECUMSEH-INFINITY MEDICAL
                                                                     RECEIVABLES FUND, LP
                                                      10             ggordon@gtg.legal, bknotices@gtg.legal

                                                      11             GABRIELLE A. HAMM on behalf of TECUMSEH-INFINITY MEDICAL
                                                                     RECEIVABLES FUND, LP
              1731 Village Center Circle, Suite 150




                                                      12             ghamm@Gtg.legal, bknotices@gtg.legal
                   Las Vegas, Nevada 89134
SHEA LARSEN




                                                      13             MICHAEL D. NAPOLI on behalf of TECUMSEH-INFINITY MEDICAL
                        (702) 471-7432




                                                                     RECEIVABLES FUND, LP
                                                      14             michael.napoli@akerman.com,
                                                                     cindy.ferguson@akerman.com;catherine.kretzschmar@akerman.com;laura.taveras
                                                      15             @akerman.com;masterdocketlit@akerman.com;teresa.barrera@akerman.com

                                                      16             ARIEL E. STERN on behalf of TECUMSEH-INFINITY MEDICAL
                                                                     RECEIVABLES FUND, LP
                                                      17             ariel.stern@akerman.com, akermanlas@akerman.com

                                                      18                    b.      United States mail, postage fully prepaid:

                                                      19                    c.      Personal Service:

                                                      20             I personally delivered the document(s) to the persons at these addresses:

                                                      21                                     For a party represented by an attorney, delivery was made by
                                                                     handing the document(s) at the attorney’s office with a clerk or other person in
                                                      22             charge, or if no one is in charge by leaving the document(s) in a conspicuous place
                                                                     in the office.
                                                      23
                                                                                             For a party, delivery was made by handling the document(s)
                                                      24             to the party or by leaving the document(s) at the person’s dwelling house or usual
                                                                     place of abode with someone of suitable age and discretion residing there.
                                                      25
                                                                             d.      By direct email (as opposed to through the ECF System):
                                                      26             Based upon the written agreement of the parties to accept service by email or a
                                                                     court order, I caused the document(s) to be sent to the persons at the email
                                                      27             addresses listed below. I did not receive, within a reasonable time after the
                                                                     transmission, any electronic message or other indication that the transmission was
                                                      28             unsuccessful.


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                                                       1
                                                                            e.      By fax transmission:
                                                       2
                                                                     Based upon the written agreement of the parties to accept service by fax
                                                       3             transmission or a court order, I faxed the document(s) to the persons at the fax
                                                                     numbers listed below. No error was reported by the fax machine that I used. A copy
                                                       4             of the record of the fax transmission is attached.

                                                       5                    f.      By messenger:

                                                       6             I served the document(s) by placing them in an envelope or package addressed to
                                                                     the persons at the addresses listed below and providing them to a messenger for
                                                       7             service.

                                                       8             I declare under penalty of perjury that the foregoing is true and correct.

                                                       9             Dated: July 25, 2022.

                                                      10                                            By: /s/ Bart K. Larsen, Esq,

                                                      11
              1731 Village Center Circle, Suite 150




                                                      12
                   Las Vegas, Nevada 89134
SHEA LARSEN




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                        (702) 471-7432




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                                       EXHIBIT 1
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                         UNITED STATES BANKRUPTCY COURT
 7
                                 DISTRICT OF NEVADA
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                                       ******
 9
     In re:                               ) Case No.: 21-14486-abl
10                                        )
     INFINITY CAPITAL MANAGEMENT,         ) Chapter 7
11   INC.,                                )
                                          )
12
                 Debtor.                  ) Adv. Proceeding No.: 21-01167-abl
13   ____________________________________ )
     HASELECT-MEDICAL RECEIVABLES )
14   LITIGATION FINANCE FUND              ) Hearing Date: July 8, 2022
     INTERNATIONAL SP,                    ) Hearing Time: 1:30 p.m.
15
                                          )
16               Plaintiff,               )
                                          )
17   v.                                   )
18                                        )
     TECUMSEH-INFINITY MEDICAL            )
19   RECEIVABLES FUND, LP,                )
                                          )
20               Defendant.               )
21   ____________________________________ )
     HASELECT-MEDICAL RECEIVABLES )
22   LITIGATION FINANCE FUND              )
     INTERNATIONAL SP, et al.,            )
23                                        )
24             Counter-Claimants,         )
                                          )
25                                        )
     TECUMSEH-INFINITY MEDICAL            )
26   RECEIVABLES FUND, LP, et al.,        )
27                                        )
               Counter-Defendants.        )
28   ____________________________________ )
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 1            ORDER GRANTING IN PART AND DENYING IN PART PLAINTIFFS
 2                       MOTION FOR PARTIAL SUMMARY JUDGMENT
 3          On July 8, 2022, the Court issued its oral ruling regarding a Motion for Partial Summary
 4   Judgment as to Certain Disputed Receivables (Motion for Partial Summary Judgment) (ECF
 5   No. 53).1 The Motion for Partial Summary Judgment was filed on behalf of HASelect-Medical
 6   Receivables Litigation Finance Fund International SP (Plaintiff).
 7          At the July 8, 2022 oral ruling, attorney Kyle M. Wyant appeared telephonically on
 8   behalf of the Plaintiff. Attorney Michael D. Napoli appeared telephonically on behalf of
 9   Tecumseh-Infinity Medical Receivables Fund, LP (Defendant).
10          To the extent that the Court made findings of fact and conclusions of law in the course of
11   its oral ruling on July 8, 2022, those findings of fact and conclusions of law are incorporated into
12   this Order by this reference pursuant to FED. R. CIV. P. 56(a)(1), made applicable in this adversary
13   proceeding pursuant to FED. R. BANKR. P. 7056.
14          For the reasons stated on the record:
15          IT IS ORDERED that the Motion for Partial Summary Judgment is GRANTED IN
16   PART AND DENIED IN PART as follows:
17                  1.      The Motion for Partial Summary Judgment, and all relief requested
18                          therein, is GRANTED as to the 1-A through 1-E Accounts, the 1-G
19                          Accounts, and the 1-H Accounts, as those accounts are defined in the
20                          Motion for Partial Summary Judgment; and
21                  2.      The Motion for Partial Summary Judgment is DENIED as to the 1-F
22                          Accounts, the 1-I Accounts, and the 1-J Accounts, as those accounts are
23                          defined in the Motion for Partial Summary Judgment.
24   ///
25   ///
26
27
     1
       In this Order all references to ECF No. are to the numbers assigned to the documents filed in
28   the above-captioned adversary proceeding as they are appear on the docket maintained by the
     Clerk of the Court.

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 1   Copies sent to all parties via CM/ECF Electronic Filing.
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